Case 2:22-cv-00319-TOR   ECF No. 89-17    filed 09/23/24   PageID.1387   Page 1
                                    of 14




                            Exhibit P




                                                                 Exhibit P Page 1
    Case 2:22-cv-00319-TOR                  ECF No. 89-17    filed 09/23/24                  PageID.1388            Page 2
                                                       of 14




                                                          '
                                            WASHINGTON STATE
                                                    ATHLETICS




  November 12, 2021

  Nicholas R. Rolovich
  1815 SW Casey Court
  Pullman, WA 99163

  RE:      Notice of Decision to Terminate for Just Cause

 Mr. Rolovich:

 Pursuant to Paragraph 4.2 of your employment agreement, this letter constitutes notice
 of termination for just cause from your employment as head football coach at
 Washington State University, effective immediately.

 This decision has been made after careful review and consideration of your lengthy and
 detailed response, which includes many inaccurate statements and legal claims. I did
 not find your response persuasive and will not respond to each and every contention.
 However, please note the following:

      •   Background: Per the Governor's Proclamation 21-14.1, all state employees,
          including those In higher education, were required to be fully vaccinated against
          COVID-19 by October 18, 2021, unless they had an approved medical or
          religious accommodation. You requested an exemption/accommodation on
          religious grounds, which the University denied on October 18, 2021, thereby
          rendering you in violation of the Proclamation and ineligible for continuing
          employment at Washington State University. On October 18, 2021, the University
          issued you written notice of its intent to terminate your employment for just
          cause in accordance with the Proclamation and your contract of employment.

     •    Regarding the University's decision that granting an exemption would
          cause undue hardship to the Athletic Depar tment and the University:
          You claim that your .ability to fulfill your duties as head football coach has not
          been and would not be impacted by your vaccination status. This Is false. Your
          performance of your duties has been significantly hindered and would continue
          to be as long as you are unvaccinated, notwithstanding any reasonable
          accommodations that might be implemented. Your activities have had to be
          continually and severely limited to a much greater extent than if you had been
          vaccinated, in order to mitigate the risk of you becoming Infected or infecting
          others. In addition to the information WSU provided you and your attorney in



                   Washington State University I Department of Intercollegiate Athletics I Office of the
                                                                                                         Director
Bohler Athletic Complex 110, PO Box 641602, Pullman, WA 99164·1602 I 509·335-0200
                                                                                      I Fax: 509-335-4501 I www.wsucougars.com



                                                                                                      Exhibit P Page 2
                                                                                                                   WSU_00000001
Case 2:22-cv-00319-TOR       ECF No. 89-17    filed 09/23/24      PageID.1389      Page 3
                                        of 14

                                                              0



   previous documents, including the October 18, 2021, Notice of Intent to
   Terminate for Just Cause, I note the following:
      o The Pac-12 Conference, not the University, barred you from attending
          Pac-12 Media Day in person due to the vaccination requirement for head
          coaches. You were the only Pac-12 head coach unvaccinated and unable
          to attend in-person. Instead of showcasing our student athletes and the
          WSU football program, you became the story. You claim this was not
          your choice and that other conferences operate differently. This
          completely misses the point. It was your choice not to get vaccinated,
          and your job required you to be successful and operate as a Pac-12 head
          football coach, which means adhering to Pac-12 rules.
       o You have been significantly hindered in your ability to successfully contact
          and recruit prospective student-athletes, because you have been
           restricted from attending any locale that has vaccine requirements,
          including high schools, high school sporting events, junior colleges, other
           universities' sporting events, or other prospect camps. Vitally important
           recruiting areas, especially on the west coast, including California and
           western Washington, which are historically WSU's most significant
           geographical areas for recruiting, are essentially inaccessible to you as a
           recruiter. Moreover, Hawaii, a state where you have extensive ties and
           should be able to recruit in-person with a high level of success, also has
           very stringent COVID-19 restrictions, which have limited your ability to
           successfully recruit in that state. Over 2/3 of our current football roster
            has student-athletes who reside from the states of Washington, California,
            Oregon, and Hawaii. WSU cannot sustain a successful football program if
            coaches are limited in recruiting locations.
       o Aside from the restrictions noted above, non-competition travel by
            unvaccinated coaches requires a quarantine upon return to campus. This
            has limited your ability to be on the road during key recruiting periods and
            reduced the number of days you can spend traveling for recruiting
            purposes. Also, WSU cannot risk losing recruits who refuse to visit
            campus because Athletics is accommodating unvaccinated coaches.
        o As a result of your recruiting limitations, the football program's recruiting
            statistics and verbal commitments for the 2022 recruiting cycle have been
            directly impacted and are unacceptably low. You personally stated your
            expectation of signing a full class, which would mean a minimum of 25
            initial signees. Contrary to your claim, NCAA regulations would not have
            prevented you from signing more prospective student-athletes; it was




                                                                         Exhibit P Page 3
                                                                                   WSU_00000002
      Case 2:22-cv-00319-TOR      ECF No. 89-17    filed 09/23/24      PageID.1390     Page 4
                                             of 14

...                          C)                                    0



               your responsibility to manage the roster to incorporate a full class of new
               student-athletes. Recruiting at the level of a Pac-12 Conference institution
               requires a robust recruiting plan and effort.
            o Because you are unvaccinated, you were required to quarantine after
               travel, which limited your participation in many important activities,
               including donor meetings. You appear to acknowledge this by explicitly
               stating you deliberately chose not to attend certain in-person donor
               events, which you had previously agreed to attend and were on your
               schedule. However, every Pac-12 head football coach must be able to
               regularly attend donor visits and events and actively engage in marketing
               efforts, in addition to other duties. Because you were unvaccinated, your
               ability to interact with key constituents, including students, donors, fans,
               and others, was severely impacted.
            o The Athletic Department has incurred significant costs associated with the
                need to test you and other unvaccinated football coaches for COVID-19 on
                a daily basis. The Pac-12 requires a minimum of three (3) tests per week
                for unvaccinated staff, in addition to pre-competition testing, and the
                Athletic Department policy requires daily testing. PCR testing, which must
                occur at least weekly for unvaccinated individuals and 72 hours prior to
                competition or travel, costs approximately $100 per test. The cost for
                testing alone of unvaccinated staff from August 2021 through final tests
                on October 18, 2021, was $10,000. In addition to that cost, because of
                the workload of increased testing caused by you and other unvaccinated
                coaches, the Athletics Department was required to hire additional staff to
                 assist in COVID-19 testing, at considerable expense. It is important to
                 note that these testing requirements do not apply to vaccinated players
                and staff, and that football was the only intercollegiate athletic program at
                 WSU to have unvaccinated coaching staff.
             o Overwhelming scientific evidence establishes the efficacy of the vaccine in
                 mitigating the spread of COVID-19 and preventing severe disease. By
                 refusing to support, and by you and your staff at times actively opposing,
                 the University's COVID-19 education and vaccination efforts, and by
                 setting a very public example, you have undermined the University's
                 efforts to promote student safety. Although numbers are gradually
                 improving, the football program has the lowest student-athlefe vaccination
                 rate of any intercollegiate athletics team at WSU and among the lowest
                 rate in the Pac-12. The football program experienced COVID-19
                 outbreaks in fall 2020 and spring 2021 that far exceeded any outbreaks
                 among other intercollegiate athletics teams at WSU. In addition, WSU had




                                                                             Exhibit P Page 4
                                                                                       WSU_00000003
Case 2:22-cv-00319-TOR       ECF No. 89-17    filed 09/23/24      PageID.1391      Page 5
                                        of 14

                                                              0



           to miss or reschedule several of the seven scheduled games in the
           restructured fall 2020 football season, including two cancellations.

 •   Regarding the University's decision that you do not have a sincerely
     held religious belief that conflicts with the University's vaccine
     requirement:
        o Prior to the Governor's proclamation, and since the beginning of the
           pandemic, you openly and freely expressed your opposition to the vaccine
           and other COVID-19 mitigation efforts on numerous occasions to
           numerous people, citing your own "scientific" research and making
           statements mirroring several specific online conspiracy theories, which
           included demonstrably false claims. In addition, at no point did you ever
           mention any religious concerns (ex: regarding fetal tissue). Therefore,
           your current claim that your private, unexpressed concerns were actually
           religious in nature is simply not credible. Your statement that you and
            some of your staff had unsuccessfully tried to secure documentation for a
            medical exemption undermines your claim. Only alierit became clear that
            a religious exemption was your only other option did you claim to have
            religious beliefs that conflict with the vaccine requirement. It is
            understandable that you would want the University's review to exclude _~
            information regarding your own prior statements in Its decision; however,
            under EEOC Guidance, these are appropriate considerations, and your
            assertion to the contrary is false. Further, under EEOC Guidance, personal
            or philosophical beliefs do not give an individual a basis to claim a
            religious exemption.

 •   Regarding the University's exemption process:
       o Contrary to your claims, the University followed its process. You claim the
          University guaranteed a blind review of your request for a religious
          exemption and that it was improper for the Athletics Department to
          provide information contradicting your claim. Nothing In WSU's policy
          states or implies that it was improper for the Athletics Department to
          provide additional information bearing on this question. The committee's
          initial review is "blind" and based solely on information provided by the
          employee; however, once the committee makes its initial determination,
          the employee's unit is informed of the initial determination and has an
          opportunity to provide information specific to that employee and their job
          duties. The Athletics Department did not receive information about your _
          request until it was appropriate for it to do so in accordance with the




                                                                         Exhibit P Page 5
                                                                                   WSU_00000004
 Case 2:22-cv-00319-TOR        ECF No. 89-17    filed 09/23/24       PageID.1392     Page 6
                                          of 14

                          C.J                                    0



           process. Further, the religious exemption request form is clear that
           "additional follow up information" may be sought, and there is nothing
           that limits WSU to information provided by the employee.
         o You claim that if WSU had concerns about the sincerity of your religious
           beliefs, it was required to allow you to submit additional information.
           Again, however, the religious exemption request form uses the permissive
           "may," not "shall." Moreover, your November 2, 2021, response to the
           notice of intent to terminate provides ample additional information
            regarding your request for a religious exemption, and I do not find this
           information persuasive. As discussed above, your prior statements, as -
           well as the timing of your request for a religious exemption, Indicate that
            your objection to the vaccine requirement was based on factors other
            than religion.
         o Finally, you claim that the Athletics Department and I "overturned" the
            accommodation recommendations of WSU's Environmental Health and
            Safety (EHS). This is false. As part of the normal process, EHS provided
            information regarding possible accommodations but, consistent with the
             University's process, did not make a decision on this issue or even a
             recommendation regarding undue hardship. The October 14, 2021,
             memorandum from EHS clearly states, "EHS will not determine whether
             these interventions and countermeasures fundamentally alter the
             employee's job and cannot be accommodated."

   •   Regarding your insubordination and threat of violence:
          o   You claim you were merely expressing your "frustration with, and dislike
              of June Jones," and that you would never physically harm him. However,
              your exact words were, "I don't want to see that mother rt:cker and will
              fight him if you bring him out to practice." Your tone and profanity during ·
              that interaction were deeply concerning and demonstrated a lack of self-
              control. The clear implication was that violence was in fact possible and
              actually intended against your former mentor and coach. Although you
              may have been frustrated, this is clearly a threat of physical violence and
              an attempt to obstruct the Athletics Department's contingency plans ·for
              the football program.

Finally, your claims of "bias" or "hostility" towards your religion are misguided. My
primary concern, as the WSU Director of Athletics, has always been the well-being of
the student-athletes under your supervision as we attempt to build a successful WSU
football program. Diversity and inclusion are in our Department's core values and




                                                                           Exhibit P Page 6
                                                                                     WSU_00000005
  Case 2:22-cv-00319-TOR         ECF No. 89-17    filed 09/23/24      PageID.1393      Page 7
                                            of 14

                           0                                      0



adhered to on a daily basis. This includes respect for people's personal religious
practices (like you, I am also a practicing Catholic), which further reinforces the
baseless nature of this claim.

Based on the above, as well as the information in the October 18, 2021, Notice of
Intent to Terminate for Cause and the other documents submitted in the religious
exemption process and provided to your attorney, which are attached and incorporated
herein, I find that you violated each of the sections of your contract outlined in the
Notice of Intent to Terminate for Cause and that these violations were deliberate,
serious, and seriously prejudicial to the University and the football program, thereby
warranting termination for just cause.

Pursuant to Paragraph 4.3 of your employment agreement, you have fifteen (15)
calendar days to appeal this decision to the University President. However, your right
to receive any payment under your employment agreement shall cease November 15,
2021, the day a~er this letter is issued, and you are not entitled to receive any
compensation pending the appeal.




Patrick Chun
Director of Athletics

 Enc.
 1. Notice of Intent to Terminate for Just Cause
 2. September 28, 2021, email from HRS with instructions for completing the religious
    exemption form
 3. October 6, 2021, notification to Athletics from HRS Exemptions
 4. October 13, 2021, memorandum from Athletics regarding undue hardship
 5. October 13, 2021, supplemental memorandum from Athletics regarding sincerely
    held religious belief
 6. October 14, 2021, memorandum from EHS
 7. October 18, 2021, memorandum from Athletics to HRS/EHS
 8. October 1Bt 2021, email from HRS exemptions with notice of denial of religious
    exemption

 cc:    Brian Fahling, Attorney for Nicholas Rolovich
        Danielle Hess, WSU Division Chief, Office of the Attorney General
        Personnel File




                                                                             Exhibit P Page 7
                                                                                       WSU_00000006
 Case 2:22-cv-00319-TOR                  ECF No. 89-17    filed 09/23/24                PageID.1394           Page 8
                                                    of 14


                                                        4t
                                          WASHINGTCN STATE
                                                  ATHLETICS




                                                                                             Hand Delivered
          October 18, 2021

          Nicholas R. Rolovich
          1815 SW Casey Cou,1
          Pullman, WA 99163

           Re:        Written Notice of Intent to Terminate for Just Cause

          Coach Rolovich:

          Pursuant to Paragraphs 4.1 through 4.3 of your Employment Agreement as Head Men's Football
          Coach, this letter constitutes notice of the University's intent to terminate your employment fo1·
          just cause.                                                       ·

                 •    You we1·e notified on September 1, 2021, and September 23, 2021, that per Proclamation
                      21-14.1, all state employees, including those in higher education, would be required to be
                      fully vaccinated against COVID-19 via one of the FDA approved vaccines by October
                      18, 2021.

                 ·•   The notice stated that if not vaccinated, you could apply for a medical or religious
                      exemption and accommodation through WSU Human Resources (HRS). The University
                      provided notice of the process on August 31, 2021, September 8, 2021, September 29,
                      2021, and October 4, 2021.

                 •    You request~d an exemption from the vaccine requirement on religious grounds. Your
                      request was denied on October 18, 2021.

           This action is in accordance with the terms of your contract, signed in April 2020, and amended
           in April 2021. The specific provisions violated include the following:

                 •    Paragraph 1.2. l requires you to devote yom· best effo11s to the performance of your
                      duties. In particular, you are required to "comply with and suppo11 all rules, regulations,
                      policies, and decisions established or issued by the University." Further, you must "abide
                      by all provisions of law." Your failure to comply with the vaccination requirement, which
                      is both a University policy and requirement of law under the Governor's Proclamation,
                      violates these provisions and has rendered you legally unable to perform your duties as
                      Head Coach. Your non-compliance with the vaccine requirement, and the fact that you
                      are now legally unable to fulfill your obligations to the U1-iiversity as Head Coach, also
                      violates Section 4.1.5 of youl' Employment Agreement, conduct of Employee seriously
                      prejudicial to the best interests of the University 01· its athletic program, and Paragraph
                      4. 1.1.                                 .

                 •    Paragraph 4.1.1 prohibits you from ·engaging in "deliberate and serious violations" of
                      your duties, or "refusal or unwillingness to perform such duties in good faith and to the
                      best of your abilities" As noted in my July 26, 2021, warning letter to you, your contract

                   Washington State University I Department of lntercolleglete Athletics I Office of the Director
Bohler Athlellc Complex 110, PO Box 641602, Pullman, WA 99164-1602 ( 509-335·0200 I Fax: 609-335-4501 I www.wsucougars.com




                                                                                                 Exhibit P Page 8
                                                                                                             WSU_00000007
Case 2:22-cv-00319-TOR           ECF No. 89-17    filed 09/23/24              PageID.1395         Page 9
                                            of 14

     Nicholas R. Rolovlch
..__ Page 2


             requires you to participate in events, activities, and efforts to foster support for the
             Football program, and your personal decision to forego a COVID-19 vaccination has
             impacted yoQ1' ability to do so, interfering with your ability to meet with donors and
             others. These activities are a critical part of being a head football coach at a Pac-12
             school. See 1.2.1.2.h. Because of your decisions, WSU, the Football program, and the
             Athletics programs have been subject to several damaging events. These events include
             the following:

             •   Your inability to attend in-person Pac-12 Football Media Day in Los Angeles on July
                 27, 2021. Because of your decision to not get vaccinated, you were the only coach
                 who did not attend in person. Your decision became the primary story concerning
                 football and put om· student athletes and other attendees in the position of having to
                 address your absence. This was, and continues to be, a major distraction for the
                 University, Athletics depa11ment, and the Football _team.

             •   Your inability to attend any of the regularly scheduled Friday donor lunches. Section
                 1.2.1.2.h requires that you participate in events, activities, and/01· efforts to foster
                 support for the University's Athletic Department and/or the Football program. You
                 have not actively participated in donor engagement, foster program support, or
                 fundraising. The Friday donor lunch is a critical component of donor outreach, and
                 your absence has been prejudicial to the Football program and the Athletics
                 department.

             •   Your inability to attend the WSU Football Coaches Show in person that broadcasts
                 live from Zeppoz. This is another critical component of donor and fan outreach. By
                 not attending the show in person, interest from fans has been negatively impacted.
                 Further, you are unable to attend other coaching speaking engagements in person,
                 and you are limited in your ability to attend other campus events such as pep rallies
                 and other fall sports. Your lack of presence as the Head Coach of WSU's most
                 popular and well-known sport is pronounced and has been prejudicial to the Football
                 program and the Athletics program.

             •   Your inability to attend live donor meetings, including several donor interactions
                 scheduled for July. These events were subsequently canceled. Furthert donors have
                 declined to engage in personal meetings or remote meetings out of concern for their
                 personal safety and the disappointment in the lack of leadership your handling of this
                 matter has portrayed. Further, the University and the Athletics department has not
                 been able to schedule future donor meetings based on your actions. Several donors
                 have revoked gifts or put them on hold until further notice because of your decision.

         •   Paragraph 1.2.1.2 requires you to "Evaluatet recruit, train, and develop student-athletes.It
             You also are responsible for establishment of a program identity and approach to
             competitiont and the game planning for individual games and the season. You have
             failed to fulfill these obligations by engaging in the following behavior:

             •   You are unable to attend individual position meetings or engage one~on-one with
                 players or assistant coaches during practices, team meetings, and other preparatory
                 functions. Interactions with assistant coaches and players has been limited and has
                 led to poor planning, lack of communicationt and a void in leadership.




                                                                                     Exhibit P Page 9
                                                                                                  WSU_00000008
Case 2:22-cv-00319-TOR            ECF No. 89-17     filed 09/23/24            PageID.1396         Page
                                           10 of 14

    Nicholas R. Rolovlch
    Page 3


             •    Your ability to travel extensively and recrnit has been impacted by your decision.
                  Recruiting has been significantly impacted this year, as evidenced by a notable
                  decline in the number of verbal commitments.

    As the most high-profile employee of WSU and one of the most highly compensated state
    employees in Washington, your choices and behavior also reflect on the University, the Athletics
    Depa11ment, and the Football program at all times. In addition to the above, the voicing of
    physical threats regarding a coach we talked about relate~ to our contingency plan was
    completely unacceptable.

    Your conduct has been seriously prejudicial to the best interests of the University and the
    Football program, including putting the University and the Football program in a negative
    national spotlight, and is a violation of your contract. (See paragraph 4.1.5).

    Per Section 4.2 of your Employment Agreement, you have fifteen (IS) calendar days to respond
    to me, in writing, with reasons why you should not be terminated. I will respond accordingly
    consistent with the terms of your Employment Agreement.

     Effective immediately you have been placed on paid administrative leave pending the outcome of
     this notice of intent to terminate for just cause. You are not to perform any work on behalf of the
     University. Your WSU email account has been disabled and systems access removed.

     For information regarding your benefits, please visit
     http://hrs.wsu.edu/employees/benefits/separating-employee-information/. If you have specific
     benefits questions, such as options for continuing medical and dental coverage beyond your
     separation date, please contact Human Resource Services at 509.33S.4521.

     Sincerely,



    r--~
     Patrick Chun
     Dh'ector of Athletics


     cc:     Athletics Employment File
             HRS Personnel File
             HRS Employment Services




                                                                                   Exhibit P Page 10
                                                                                                  WSU_00000009
Case 2:22-cv-00319-TOR            ECF No. 89-17     filed 09/23/24           PageID.1397          Page
                                           11 of 14


                                              4t                         (    s:10~:1s 3o~nos~ NWinH

                                                                                     lZOZ £ l !JO
                                 WASHINGTON STATE
                                         A T H L I T   I C 9
                                                                                    03/\13~3~

 October 13, 2021
 Re: Religious Accommodation Request I Nicholas Rolovlch

 This response ls a supplement to the earlier response to the request received from HRS on
 October 6, 2021, regarding a religious accommodation request for Nick Rolovich (Employee).
 The Initial response focused on the essential functions of Rolovich's job and the Inability to
 perform those functions with the requested accommodations.

 Underlying the request for an accommodation Is the initial conclusion that Rolovich met the
 requirements for a religious exemption to the vaccination requirement by demonstrating a
 sincerely held religious belief against being vaccinated for COVID-19. Rolovlch has made several
 statements that cast doubt on his claimed sincerely held religious belief. The statements and
 the timing of Rolovich's statements with respect to religious beliefs as they relate to COVID-19
 vaccinations are summarized below.

     •    In numerous formal and informal meetings between March and August, Rolovich made
          it clear to Pat Chun, his supervisor, and many within the Athletics Department, that he
          was unwilling to take the vaccine based on his Independent research. He stated on
          multiple times he had done his own research, made an Independent decision and came
          to a conclusion that he would not take the vaccine. It was clear from these statements
          that his decision not to be vaccinated was based on the conclusions he reached
          following his own research. On May 24, 2021, Rolovlch firmly restated to Pat Chun his
          stance on not taking the vaccine based on his research in a meeting in Pat Chun's office.

     •    On August 19, 2021, Rolovich personally reiterated and reaffirmed directly to Pat Chun
          his ongoing stance of not receiving a COVID-19 vaccination. He disclosed he attempted
          to seek a medical exemption but was unable to secure the necessary documentation. He
          then disclosed he would elect to pursue a religious based exemption to meet the
          employment requirements stated In the Governor's Proclamation 21-14-1.
               o In that meeting, Pat Chun stated directly to Rolovlch that since the start of this
                  pandemic, Rolovich had been vocal and consistent in his opinions and
                  skepticisms about the COVID-19 virus and the full nature of the public health
                  emergency. He has continuously been critical of the role the government and
                  communicated a multitude of baseless theories with respect to vaccination.

      •   The following are examples of his reasoning:
              o COVID-19 Vaccine was not fully FDA approved, and therefore not safe
              o The vaccine could and would negatively impact women and fertility rates
              o The vaccine would negatively Impact his mortality

  The government and therefore the vaccine could not be trusted. Rolovich participated in Pac-12
  Conference sponsored and WSU Athletics mandated education sessions relative to the merits of




                                                                                  Exhibit P Page 11
                                                                                                  WSU_00000017
Case 2:22-cv-00319-TOR           ECF No. 89-17     filed 09/23/24           PageID.1398          Page
                                          12 of 14

                                                                       0
 the COVID-19 vaccine. In addition, WSU Athletics arranged a one-on-one meeting with Dr. Guy
 Palmer, a world-renowned Infectious disease expert. Notwithstanding information shared by
 the experts In these sessions, Rolovich continued to rely on the results of his own research.

 In sum, throughout the multiple Individual and sroup meetings, Rolovlch made It clear that he
 refused to be vaccinated based on the conclusions he reached through his own research, he
 only mentioned religion after the Governor issued the Proclamation requiring vaccination, and
 then only mentioned religion In reference to seeking an exemption from the vaccination
 requirement. We believe these facts support re-evaluation of the claimed sincerely held
 religious belief.




                                                                                 Exhibit P Page 12
                                                                                             WSU_00000018
Case 2:22-cv-00319-TOR             ECF No. 89-17     filed 09/23/24   PageID.1399    Page
                                            13 of 14

                            0                                     0
From:          HRS Exemption:;
To:            B01oylcb, N!cbalas B
Cc:            Chun Patrick; McCoy Moe B; BJalc, Bryan Bernard
Subject:       OFFICIAL NOTICE: Religious Exemption Denied
Date:          Monday, October 18, 2021 4:29:57 PM


Dear Nicholas Rolovich:

You submitted a request for an exemption to the COVID-19 vaccination requirement
as mandated by Governor lnslee's proclamation 21-14.2. This notification confirms
that we are unable to approve your request for an exemption and accommodation
based on a sincerely held religious belief, practice, or observance. We would like to
provide additional information on the review process in an effort to clarify your
exemption denial and the University's approach to each individual request.

Under the proclamation, the University is legally prohibited from allowing workers to
engage in work after October 18, 2021, if they are not fully vaccinated against
COVID-19, with limited exceptions. One exception is if a worker has an approved
religious accommodation and is thereby exempt from the vaccine requirement. To
qualify for an approved religious exemption from the vaccine requirement:
    • A worker must explain how the vaccine requirement conflicts with their
        sincerely held religious belief, practice or observance; and
    • Must be able to accommodate the unvaccinated worker without undue
        hardship.

 In considering your request for accommodation, the University considered both the
 information you submitted as well as your own prior statements to WSU staff and
 others regarding vaccination. Based on your comments, in conjunction with the timing
 of your request for a religious accommodation, the University questions the assertion
 that your sincerely held religious views conflict with the University's vaccine
 requirement.

 Furthermore, it would pose an undue hardship to the University and/or a threat to
 yourself and others to allow you to remain in your position while unvaccinated. The
 University evaluated the essential functions of your position to determine whether
 these possible accommodations would mitigate the threat posed by allowing you to
 remain unvaccinated while performing your job duties and also whether there were
 possible accommodations that would allow you to effectively perform all of your duties
 while remaining unvaccinated.
 Based upon the nature of your head coaching responsibilities and core job functions
 and activities, the University has determined you cannot safely and effectively do your
 job without undue hardship to the University.

 We hope this information helps you understand how the University individually
 evaluated your request.


 Thank you,




                                                                         Exhibit P Page 13
                                                                                    WSU_00000029
    Case 2:22-cv-00319-TOR                     ECF No. 89-17     filed 09/23/24                       PageID.1400              Page
                                                        14 of 14

.                                      0                                                        0
    Washington State University, Human Resource Services
    French Administration 1391 Pullman, WA 99164-1014
    Phone: 509-335-4521 I Fax: 509-335-1259 I HRS Website: http://www.hrs wsu,edu


    IMPORTANT NOTICE: This comrnunication, including any attachment, contains information that may be confidential or
    privileged, and is intended solely for the entity or individual to whom it is addressed. If you are not the intel')ded recipient,
    you should delete this message and are hereby notified that any disclosLJre, copying, or distribution of this message is strictly
    prohibited. Nothing in this email, including any attachment, is intended to be a legally binding signature.




                                                                                                             Exhibit P Page 14
                                                                                                                             WSU_00000030
